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                        UNITED STATES DISTRICT COURT
                          DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                 :       No. 3:19-cr299 (KAD)
                                         :
 v.                                      :
                                         :
EDWARD MICHAEL PARKS,                    :
 a.k.a. “Lee” and “Trouble”              :       December 7, 2022


                   GOVERNMENT’S TRIAL MEMORANDUM

      In accordance with the Court’s order of May 12, 2022, the government

respectfully submits this trial memorandum to outline the nature of the case, the

charges, and likely issues to arise during trial.

      Nature of the case. The defendant is charged with two counts of kidnapping

resulting in death and one count of witness tampering by killing. Specifically, the

indictment charges:

      •   Count One: Kidnapping resulting in death, in violation of 18 U.S.C. §

          1201(a)(1).

      •   Count Two: Kidnapping resulting in death, in violation of 18 U.S.C. §

          1201(a)(1).

      •   Count Three: Witness tampering by killing, in violation of 18 U.S.C. §

          1512(a)(1)(C) and 1512(a)(3)(A).

      Witnesses and expected proof. The Government anticipates calling civilian

witnesses, law enforcement witnesses from the Hamden Police Department (“HPD”),

New Haven Police Department (“NPD”), and the Federal Bureau of Investigation

(“FBI”). The Government further plans to call the medical examiners who performed

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the autopsies, expert forensic examiners (including DNA, fingerprint, and ballistics

experts), a computer and telephone forensic examiner, and a cell site expert, among

other witnesses, to establish the following:

      On the morning of November 17, 2015, an employee of the Broadmoor

Apartments at 676 Mix Avenue in Hamden, Connecticut alerted the Hamden Police

Department ("HPD") to two deceased men in a blue Nissan Maxima. The car was

running with music playing. The rear passenger door to the vehicle was unlocked

and both victims, subsequently identified as Damian Connor, a.k.a. “Chicken,” and

Tamar Lawrence, appeared to have been shot. Connor was found dead in the driver's

seat and had blood coming out of his left ear, and Lawrence was slumped across the

back seat with blood on his hands, arms, and upper torso. Law enforcement did not

find any identification, money, or phones on either victim.

      Autopsies revealed that both victims had died from gunshot wounds to the

head. Projectiles recovered from their bodies were analyzed and were all found to be

.38 caliber projectiles. A Hamden resident who was out walking his dog found Tamar

Lawrence's cellular phone in front of 56 Bowen Street, which is approximately nine

minutes away by car from where the bodies were found.

      On the night of November 16, 2015, Devante Williams, a.k.a. "Breezy," was

shot and killed at 49 Sherman Court in New Haven. Witnesses reported hearing gun

shots and two neighbors said they saw a black male being chased by another black

male who had dreadlocks and wore a somewhat distinctive coat (consistent with the

defendant’s appearance that evening). Upon arriving to the scene just before 9:00


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p.m., officers located a jacket and hat on the ground near a small pool of blood in an

empty parking space in the rear lot of Sherman Court. The body of Devante Williams

was found a distance away, behind the building. Four fired .45 caliber cartridge

casings were located on scene, as well as one live .45 caliber round of ammunition.

Williams was pronounced dead at approximately 9:19 p.m. A subsequent autopsy

revealed that the cause of death was gunshot wounds to the head and torso. Two

projectiles were found in Williams’ body, one of which could be identified as a .45

caliber projectile.

       Damian Connor's cell phone was found at the scene of Williams' murder with

the SIM card removed. The two locations where the three victims’ bodies were found

are approximately fifteen minutes apart by car.

       In sum, civilian/cooperating witness testimony will establish that on the

evening of November 16, 2015, the defendant, a high-ranking member of the Bloods

street gang visiting from North Carolina, was offering firearms for sale in a bedroom

of a private residence on Shelton Avenue in New Haven. Several people were present

in the residence, and observed the defendant lay out multiple firearms on a bed to

display for sale. One witness described that the defendant was armed during this

time with a .38 caliber revolver and a semi-automatic firearm, which he kept in the

front pockets of his sweatshirt, so that they were visible to others in the room.

       E.G. and another man stole two firearms that the defendant was attempting

to sell on November 16th. In response, the defendant became angry and ordered

Connor and Lawrence to call E.G. and the second man to tell them to return the


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firearms or pay for their purchase. The defendant would not let Connor or Lawrence

leave until E.G. returned the firearms or paid for them. Witnesses made multiple

telephone calls to try to convince E.G. to return the firearms and/or pay for their

purchase, but E.G. refused.

      As a result, the defendant kidnapped Connor and Lawrence (both friends of

E.G.) to persuade E.G. and the second man to return the firearms or pay him. Devante

Williams, R.C and J.C., were also present and assisted the defendant in taking cash,

cellular telephones, marijuana, and a key fob to a Nissan Maxima from the pockets

of Connor and Lawrence. R.C. collected their cell phones and some drugs, which R.C.

gave to the defendant.

      The defendant, R.C., Connor, and Lawrence got into the Nissan Maxima and

drove to Hamden. J.C. and Williams followed the Maxima in a silver Volkswagen.

The passengers in the Volkswagen lost sight of the Maxima and stopped at a

residence near the Hamden murder scene. While at this residence, J.C. called the

defendant and that the defendant said he was going to “take care of them.”

      Meanwhile, the defendant, R.C., Connor, and Lawrence made a brief stop.

Connor got out of the car to get more money to pay the defendant. While Connor

retrieved the money, everyone else remained in the car – it was clear that the

defendant would not allow them to leave. When Connor returned, they drove to the

parking lot behind the Broadmoor apartments. Around this time, J.C. and Williams

also drove from the nearby residence to the Broadmoor apartment parking lot in the

Volkswagen. J.C. and Williams parked a few spaces away from the Maxima.


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      J.C. heard two to three gunshots and saw a muzzle flash. J.C. also saw the

defendant on the passenger side of the Maxima wiping something down. J.C. also saw

R.C. run to the Volkswagen that J.C. was driving and then drop an item and pick it

up before entering the Volkswagen. The defendant also got into Volkswagen. J.C.

pulled out of the parking lot, and the defendant instructed him to “drive normal.” The

defendant told J.C. to wipe down the victims’ phones and throw them out of the car

near the intersection of Dixwell and Benham.

      J.C. pulled over at the intersection of Shelton Avenue and Munson Street in

New Haven where he got out of the car and returned to the residence at Shelton

Avenue. Meanwhile, the defendant told R.C. to drive so they (the defendant, R.C.,

and Williams) could go smoke marijuana. R.C. then drove to Sherman Court in New

Haven, with the defendant and Williams. There, all three started to get out of the

car. R.C. heard one shot and then several clicks. R.C. then saw the defendant pull out

a second pistol. Williams yelled that he had been shot and began to run away. the

defendant chased after Williams. R.C. lost sight of them but heard additional shots.

The defendant then returned to the vehicle carrying the gun and told R.C. to leave.

He told R.C., “I know you not going to say anything.”

      After leaving the scene, R.C. stopped the Volkswagen and the defendant got

out and returned to the residence at Shelton Avenue. R.C. drove to the store briefly

and then also returned to the residence at Shelton Ave. J.C., who had remained at

Shelton Ave, spoke to the defendant when he returned, who said “I had to take care

of your boy, too . . . Breezy [Williams]. He seen too much.” After the defendant


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returned to the residence, he used the bathroom and J.C. could smell a strong order

of bleach coming from the bathroom. Later, the defendant told J.C. that he shot

Williams in the head. The defendant gave R.C. a bag and instructed him to throw it

out. R.C. threw the bag in a dumpster in a nearby church parking lot

      K.L., a Bloods member who was living in Raleigh, North Carolina received a

call from a family member in the evening hours of November 16, 2015 and was told

to pick up “Trouble” (the defendant) in Connecticut and return him to Raleigh, North

Carolina. K.L. said that he drove directly to Connecticut, picked up "Trouble" (who

had packed his belongings) and returned to North Carolina. According to K.L.,

“Trouble” is a high-ranking Bloods member. K.L.’s understanding was that “Trouble”

needed to attend child support court in North Carolina, which was why he had to

return, but the two did not further discuss his reasons for returning during the trip

back. K.L. drove directly to Connecticut and then turned around and drove

immediately to North Carolina.

      The government will introduce expert forensic evidence at trial. Over twenty

samples were swabbed from the two cars and tested for DNA. A human hair was

collected from the front passenger seat of the Nissan Maxima in which the victims

were found and the defendant could not be eliminated as the source of the DNA profile

with an expected frequency of less than 1 in 7 billion in the African American,

Caucasian, and Hispanic populations.

      A swab was also taken of the rear driver's side interior door handle of the

Nissan Maxima, which showed that R.C. was included as a contributor to the mixture


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of DNA profiles found at that location at an expected frequency of 1 in 4,000 in the

African American population, 1 in 4,400 in the Caucasian population, and 1 in 6,900

in the Hispanic population.

       Law enforcement seized the Volkswagen five days after the homicides.

Investigators identified and collected blood from the rear interior passenger side

window. Forensic testing showed that Tamar Lawrence was consistent with being the

source of the DNA profile from the blood at an expected frequency of less than 1 in 7

billion in the African American, Caucasian, and Hispanic populations. Connor could

not be eliminated as a potential contributor to a mixture of DNA profiles found on a

cellular phone sim card left at the scene of the Williams’ murder at a rate of 1 in 34

in the African American population, 1 in 26 in Caucasian population and 1 in 54 in

the Hispanic population.

       Finally, a swab was taken of the interior rear driver's side door handle of the

silver Volkswagen. R.C. was included as a contributor to the DNA profile in the

mixture at an expected frequency of approximately 1 in 150 in the African American

population.

       The government presently anticipates that it will also introduce cell phone

extractions, call detail records, and expert cell site cell site analysis to prove its case.

Call detail records will reveal the various communications between the witnesses and

with the defendant.

       Cell site analysis will reveal the locations of the phones of certain witnesses

during relevant times on November 16 through November 18, 2015. That analysis


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will reveal, among other things, that on November 16, 2015 between approximately

7:00 p.m. and 7:30 p.m., Connor’s two telephones hit off cell towers in the area of

Shelton Avenue in New Haven. At proximately 8:14 p.m., one of Connor’s phones hit

off a tower near the Hamden murder. It remained in this area for the remainder of

the evening. Connor’s second phone continued to have activity in the general area of

Shelton Avenue in New Haven and the New Haven murder scene. The last mappable

activity on this phone was at approximately 10:07 p.m. on November 16, 2015.

      On November 16, 2015, R.C.’s phone hit off a tower in the area of Sherman

Avenue in New Haven at approximately 7:24 p.m. At 7:52 p.m. R.C.’s phone had

moved north of Sherman Avenue in New Haven. At 8:23 p.m., R.C.’s phone hit off a

tower north of Sherman Avenue using a sector facing Hamden (as described below,

J.C.’s phone hit off this same tower and sector at approximately the same time). At

8:54 p.m. and 9:00 p.m., R.C.’s phone hit off a tower near Gateway Community

College in New Haven (approximately 4,000 feet from the New Haven murder scene).

At 9:22 p.m. and 11:10, R.C.’s phone hit off a tower in the Shelton Ave area of New

Haven (the same tower and sector it was using at 7:24 p.m.).

      J.C.’s phone was in the area of Shelton Ave between 7:00 p.m. and 7:24 p.m.

J.C.’s phone travelled north and used a tower near the Hamden murder scene

between 8:10 p.m. and 8:14 p.m. J.C.’s phone moved south and used the tower in the

area of Shelton Avenue between 8:34 p.m. and 9:14 p.m. J.C.’s phone continued to

use this tower and sector between 10:30 p.m. and 11:00 p.m.




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       The defendant’s phone hit off a tower near Shelton Ave in New Haven at 7:17

p.m. Beginning at 7:50 p.m. His phone hit off a tower near the Hamden/New Haven

line near the Hamden murder scene between 8:01 p.m. and 8:14 p.m. This includes

multiple calls with J.C.’s phone during this time period. The defendant’s phone hit

off a tower near the Hamden murder scene. At 8:38 p.m., his used the tower near

Gateway Community College that is approximately 4000 ft. from the scene of the New

Haven murder. At 8:40 p.m., the defendant’s phone used an adjacent tower. At 11:10

p.m., the phone was back Shelton Avenue. The next day, November 17, 2015, at 3:11

p.m., the defendant’s phone began traveling south to North Carolina.

       Lastly, cell site analysis of K.L’s phone reveals that it traveled from North

Carolina to Connecticut at approximately 3:00 a.m., then back to North Carolina

immediately. At 1:18 a.m. on November 18, 2015, K.L.’s phone began hitting off

towers in North Carolina.

       Expected legal issues. The government has filed several notices and motions

in limine and notices, including:

   •   Notice of intent to use a summary chart;

   •   Notice of intent to introduce evidence of the defendant’s gang affiliation;

   •   Motion in limine regarding use of the defendant’s criminal convictions;

   •   Motion in limine regarding use grand jury testimony as substantive evidence;

       and

   •   Motion in limine regarding introduction of testimony regarding the seizure of

       the defendant’s phone.


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                                        Respectfully submitted,

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                                          /s/

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